        Case 24-17484-ABA                    Doc 59         Filed 08/16/24 Entered 08/16/24 10:36:21                            Desc Main
                                                           Document      Page 1 of 5




Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)    24-17484
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule       Voluntary Petition
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 16, 2024                 X /s/ Amanjot Kaur
                                                           Signature of individual signing on behalf of debtor

                                                            Amanjot Kaur
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-17484-ABA                                    Doc 59               Filed 08/16/24 Entered 08/16/24 10:36:21                                                         Desc Main
                                                                                   Document      Page 2 of 5
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Debtor name           FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)              24-17484
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,772,361.24

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,772,361.24


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,394,205.06


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           574,583.58


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,968,788.64




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Debtor name       FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)     24-17484
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Insurance Financing
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Capital Premium Financing, LLC (Insuranc
           List the contract number of any                                          P.O. Box 667180
                 government contract                                                Dallas, TX 75266-7180


2.2.       State what the contract or            Lease #xxx31981
           lease is for and the nature of        2020 Kenworth Tractor
           the debtor's interest                 6028
                                                 VIN
                                                 #1XKYD49X4LJ399920
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091


2.3.       State what the contract or            Lease xxx31982
           lease is for and the nature of        2020 Kenworth Tractor
           the debtor's interest                 6027
                                                 VIN
                                                 #1XKYD49X1LJ399969
               State the term remaining
                                                                                    Fulton Bank Leasing Dept.
           List the contract number of any                                          P.O. Box 25091
                 government contract                                                Lehigh Valley, PA 18002-5091




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 3
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Debtor 1 FASTLINE CARGO, LLC d/b/a FLC                                           Case number (if known)   24-17484
          First Name         Middle Name            Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.4.      State what the contract or         Lease XXX32060
          lease is for and the nature of     2020 Freightliner
          the debtor's interest              Tractor 6035
                                             VIN
                                             #1FUJHHDR4LLKS3691
             State the term remaining
                                                                        Fulton Bank Leasing Dept.
          List the contract number of any                               P.O. Box 25091
                government contract                                     Lehigh Valley, PA 18002-5091


2.5.      State what the contract or         Lease XXX32061
          lease is for and the nature of     2020 Freightliner
          the debtor's interest              Tractor 6034
                                             VIN
                                             #1FUJHHDR0LLKS3705
             State the term remaining
                                                                        Fulton Bank Leasing Dept.
          List the contract number of any                               P.O. Box 25091
                government contract                                     Lehigh Valley, PA 18002-5091


2.6.      State what the contract or         Lease XXX32062
          lease is for and the nature of     2020 Freightliner
          the debtor's interest              Tractor 6036
                                             VIN
                                             1FUJHHDR1LLKS3700
             State the term remaining
                                                                        Fulton Bank Leasing Dept.
          List the contract number of any                               P.O. Box 25091
                government contract                                     Lehigh Valley, PA 18002-5091


2.7.      State what the contract or         Factoring Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining        12 months
                                                                        RTS Financial Service, Inc.
          List the contract number of any                               9300 Metcalf Ave.
                government contract                                     Overland Park, KS 66212


2.8.      State what the contract or         Real Estate Lease -
          lease is for and the nature of     business operations
          the debtor's interest
                                                                        XPO Logistics
             State the term remaining        4 years                    Attn Real Estate
                                                                        2211 Old Earhart Road
          List the contract number of any                               Suite 100
                government contract                                     Ann Arbor, MI 48105




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 3
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Debtor 1 FASTLINE CARGO, LLC d/b/a FLC                                           Case number (if known)   24-17484
          First Name         Middle Name            Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.9.      State what the contract or         Account Number
          lease is for and the nature of     Ending xxxx3Y3CZ
          the debtor's interest              Lease of 25 Trailers
                                             Balance $12,102.00
             State the term remaining
                                                                        Xtra Lease
          List the contract number of any                               5316 Oakview Drive
                government contract                                     Allentown, PA 18104-9351




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 3 of 3
